
HOOD, Judge.
This is a companion suit to the case, of Manuel v. Carolina Casualty Insurance Company et al., 136 So.2d 275, which was decided by us on this date, plaintiffs in this suit being major surviving children of the decedent, Mrs. Mona Ardoin Manuel. This case, the Helen Mae Manuel suit, and two *282other cases, were consolidated for the purpose of trial and appeal.
All of the issues presented here were discussed and determined in the Helen Mae Manuel suit above cited. For the reasons set out in that suit, the judgment of the district court in this case is affirmed, and all costs of this appeal are assessed to plaintiffs-appellants.
Affirmed.
On Application for Rehearing
En Banc. Rehearing denied.
